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            EXHIBIT B
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 23-24903-CIV-ALTONAGA

  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
  v.

  RISHI KAPOOR, et al.,

        Defendants.
  __________________________________________/

             ORDER GRANTING RECEIVER’S MOTION FOR AUTHORIZATION
             OF EMPLOYMENT OF KOZYAK TROPIN & THROCKMORTON LLP
                   AS COUNSEL RETROACTIVE TO JANUARY 12, 2024

         THIS CAUSE came before the Court upon the Receiver’s Motion for Authorization of

  Employment of Kozyak Tropin & Throckmorton LLP as Counsel Retroactive to January 12, 2024

  (“Motion”) [DE ___]. Having considered the Motion and finding that good cause exists, it is

  hereby ORDERED as follows:

        1.     The Motion is GRANTED.

        2.     The Receiver is authorized to employ Kozyak Tropin & Throckmorton, LLP as

  counsel, retroactive to January 12, 2024, to assist the Receiver in fulfilling her duties under the

  Receivership Order [DE 28], subject to Court approval of all fees and costs incurred in connection

  therewith in accordance with the Receivership Order.

        DONE AND ORDERED in Miami, Florida this ____ day of January, 2024.


                                               ___________________________________
                                               CECILIA M. ALTONAGA
                                               CHIEF UNITED STATES DISTRICT JUDGE

  Copies furnished to counsel of record.
